                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA )
                         )
                         )
v.                       )                   Case Number:
                         )                   4:24CR1
                         )
Austin Burak,            )
Defendant.               )

     RESPONSE TO GOVERNMENT MOTION IN LIMINE TO ALIBI
                       EVIDENCE

       The defense hereby responds to the Government’s Motions in Limine found

at Doc. 52. This document points to the idea that the Defendant would be providing

an alibi defense during the opening statement and addresses a number of issues that

this raises.

   1. Timing of Evidence

       In this case the Defense has had to fight the Government for every single

   piece of evidence. This includes the appeal record from the Court Martial. In

   order to obtain this record the Defense had to file a motion for Exculpatory

   Evidence at Doc. 48.; a motion to compel at 72 and a Writ of Mandamus at

   Doc. 74.

       At the hearing held on December 13, 2024 the Court held a hearing on the

   motions. During this hearing a representative for the Government, Special
AUSA Micheal Spitulnik told the Court in no uncertain terms that there was

nothing that would be determined to Brady evidence in the appeal record, even

though he admitted to never having seen the record. The Court pushed back

against this and required the Government to turn over the appeal records.

   In this appeal record was several records including the text messages and

phone call records for the period surrounding the night in question. The Defense

has preemptively listed these as Exhibits and provided copies of them to the

Government and Court as required by the scheduling order.

   After turning these items over Counsel for the Defendant received a call

from a person named Nathan Williams on May 7, 2025. He informed counsel

that he had been contacted by the Federal Bureau of Investigation (FBI) and had

been asked to provide the same messages again in a method with the exact time

stamps. Mr. Williams stated he had no idea about the litigation, hadn’t talked to

the Defendant in a long time and only after talking to the FBI did he google the

Defendant and locate the case. Once he located the case he found out he had

counsel and contacted the Defense counsel to provide the records because “it is

only fair you have what they have”.

   The Defense still has not received the exact items that were turned over to

the Government but have provided what is believed to be a copy of the

evidence that was provided on Friday, May 9th, 2025. The Government did not
turn over the 302 report until Sunday, May 11th, 2025 at 1:39pm. This states

there are attachments to the report, but no attachments were provided.

(Attachment #1 timestamp email, and Attachment #2, FBI 302).

2. The Government points to the requests for Alibi being requested at two

   times based on Doc 152, Exhibit 1 and Doc 152, Exhibit 2. Exhibit 1 is

   dated July 17, 2024, this is far before the Defense possession of the appeals

   record and there was no way to state respond with or raise this evidence.

   With regards to Doc 152, Exhibit 2 this would have been right after the

   appeal record was provided. Which included the phone calls and text

   messages that the Defendant made during that period. However, the

   Defendant did not know where Nathan Williams was and had no intention of

   calling him as it is impossible to locate someone when you do not know

   where they are or how to contact them. Thus, the ONLY way this evidence

   would be presented was through the Defendants testimony which Under

   Federal Rule of Criminal Procedure 12.1 (e) the Defendant would have the

   right to testify

3. In this case any issues with providing an alibi notice or even knowing if

   there is an alib,i lays at the feet of the Government. This case if fraught with

   the Government withholding evidence until it is either ordered to turn it over

   or it is convenient. The Defense and the right to testify by the Defendant is a
      right that is Guaranteed and is “essential to due process of law in a fair

      adversary process. Rock v. Arkansas, 483 U.S. 44, 51, 107 S.Ct. 2704,

      99L.Ed.2d 37 (1987) quoting Faretta v. California, 422 U.S. 806, 819, n.15,

      95 S.Ct. 2525, 2533, n.15, 45 L.Ed.2d 562, 572, n.15 (1975).

   4. Here any timing issues and witnesses falls squarely at the feet of the

      Government who fails to understand their obligations under Brady v.

      Maryland, 373 U.S. 83 (1963). For the Government to come in front of the

      Court and certify that documents DO NOT contain information that would

      require disclosure under Brady without viewing the documents is a great

      snapshot of the issues to come. Then to not turn over the full text messages

      at all after receiving them from Nathan Williams and to wait until Sunday,

      the day before trial to turn over the FBI 302 shows a disregard for my

      client’s rights and the Government’s obligations. “Society wins not only

      when the guilty are convicted but when criminal trials are fair; our system of

      the administration of justice suffers when any accused is treated unfairly.”

      Brady v. Maryland, 373 U.S. 83, 87, 83 S. Ct. 1194, 1197 (1963). The

      Defendant has a right to any evidence that may exculpate him or reduce the

      penalty. Id. at 88.

      In conclusion the Defense requests that any potential explanation of time that

night that comes from the mixture of phone records and text messages, as would be
entered into evidence through his testimony be allowed. Further, the Defendant

requests that the Government ensure that they have met their bet obligations under

Brady v. Maryland, 373 U.S. 83 (1963) and turn over ALL exculpatory evidence,

meaning anything that may exculpate my client.

      Respectfully submitted this 11th day of May, 2025.

                                     /s/ Skye Ellen Musson
                                     Skye Ellen Musson
                                     State Bar No.: 513712
                                     5501 Abercorn Street, Suite D-246
                                     Savannah, Ga 314015
                                     skye@mussonlawoffices.com
                                     Phone: 912-506-4661
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                         CERTIFICATE OF SERVICE


      This is to certify that Defense Counsel has submitted a copy of this

RESPONSE TO MOTION IN LIMINE to the Assistant United States Attorney,

via the Electronic Service system.


      Respectfully submitted on 5/11/2025.


                                             /s/ Skye Ellen Musson
                                             Skye Ellen Musson
                                             State Bar No.: 513712
                                             5501 Abercorn Street, Suite D-246
                                             Savannah, Ga 314015
                                             skye@mussonlawoffices.com
                                             Phone: 912-506-4661
